Fill in this information to identify the case:
Debtor name Heritage Collegiate Apparel, Inc. f/k/a M-Den, Inc., d/b/a The M
                   Den
United States Bankruptcy Court for the: EASTERN DISTRICT OF MICHIGAN                                                                        Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
512-2301 Enterprises      Danielle Roussin          Trade Debt                                                                                                $686,236.02
32475 Stephenson
Hwy                       danielle.roussin@ho
Madison Heights, MI       tmail.com
48071                     248.225.23.15
Alantes Corporate         Kenneth Dotson      Fee Agreement                                                                                                   $346,875.00
Finance, LLC
234 5th Avenue, 2nd       kdotson@alantes.co
Floor                     m
Attn: Kenneth Dotson      646.820.6085
New York, NY 10001
Allegra                   Kathy Clendenin           Trade Debt                                                                                                $326,123.28
47583 Galleon Drive
Plymouth, MI 48170        kathyc@allegrapmpl
                          ymouth.com
                          734.207.1314
BCS Apparel,              Alan Kelly         Trade Debt                                                                                                     $4,252,764.87
Branded Custom
Sportswear                akelly@dridesign.co
7007 College Blvd.        m
#700                      913.663.6882
Overland Park, KS
66211
Champion Custom           Tricia Schuler            Trade Debt                                                                                              $1,039,739.43
Products
12188 Collection          tricia.shuler@hanes.
Center Dr.                com
Chicago, IL 60693         913.693.3319
Global Resource           Randall Lippe        Past due rent -                                                                                                $265,609.71
Center                                         Detroit location
2211 Woodward Ave.        randy.lippe@olydev.
Detroit, MI 48201         com
Hype and Vice             Will Palacios        Trade Debt                                                                                                     $187,076.07
2526 S. Hill St.
Los Angeles, CA           will@hypeandvice.c
90007                     om
                          269.449.5035

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Debtor     Heritage Collegiate Apparel, Inc. f/k/a M-Den, Inc., d/b/a The                           Case number (if known)
           M Den
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Jostens                    Ann Houglum              Trade Debt                                                                                                $180,221.41
21336 Network Place
Chicago, IL                ann.houglum@joste
60673-1213                 ns.com
                           800.854.7464
                           x56333
Lululemon USA, Inc.        David O'Donoghue         Trade Debt                                                                                                $840,735.13
250 H Street, PMB
5000                       davidodonoghue@lu
Attn: David                lulemon.com
O'Donoghue
Blaine, WA 98230
Mall at Briarwood,         Kristen Justis           Trade Debt                                                                                                $614,141.42
LLC
Simon Properties           kristin.justis@simon.
225 West Washington        com
St.                        317.264.3003
Indianapolis, IN
46204-3438
New Era Cap, LLC           Ryan Russell             Trade Debt                                                                                                $169,722.99
160 Delaware Ave.
Buffalo, NY 14202          ryan.russell@newer
                           acap.com
                           716.469.1942
Nike USA, Inc              Shruti Gupta             Trade Debt                                                                                              $2,556,680.46
Bank of America
Lockbox Services     nacf.accountsgroupg
7932 Collection      @nike.com
Center Drive         316.801.0711
Chicago, IL 60693
Olympia Development Laura Kolesky                   Trade Debt                                                                                                $238,753.64
- Retail
2125 Woodward        laura.kolesky@olyde
Detroit, MI 48201    v.com
                     313.471.6417
RFSJ, INC            Doreen Myers                   Trade Debt                                                                                                $445,159.14
654 West Main Street
Mt. Pleasant, PA     doreen@rfsj.com
15666                724.547.4457
Tommy Bahama         Kenya Smith                    Trade Debt                                                                                                $201,843.56
12564 Collections
Center Drive         kksmith@oxfordinc.c
Chicago, IL 60693    om
                     404.653.1210
TVO Mall Owner, LLC Gina Manes                      Trade Debt                                                                                                $191,571.32
Simon Properties
225 West Washington jmanes@taubman.c
St.                  om
Indianapolis, IN     248.258.7576
46204-3438



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Debtor     Heritage Collegiate Apparel, Inc. f/k/a M-Den, Inc., d/b/a The                           Case number (if known)
           M Den
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Twelve Oaks Mall,                                   Past due rent -                                                                                           $206,434.44
LLC                        jsanders@taubman.        Twelve Oaks Mall
200 East Long Lake         com                      location
Rd.
Bloomfield Hills, MI
48303
University of Michigan                              Royalty Payments                                                                                        $8,855,882.00
Dept of Athletics
Warde Manuel,
Director of Athletics
Stephen M. Ross
Athletic Campus
1000 S. State Street
Ann Arbor, MI 48109
UPS                        UPS Accounts             Trade Debt                                                                                                $173,455.83
55 Glenlake Pkwy NE        Receivable
Atlanta, GA 30328

                           877.869.7502
Valiant Management         Jared Wangler            Trade Debt                                                                                                $665,961.00
Group
3784 Plaza Dr              jared@valientuofm.c
Ann Arbor, MI 48108        om
                           734.496.2369




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